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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


 CHAD GELLNER, MATTHEW RUFO, and                       Case No.: 1:20cv4618
 MELVYN KLEIN, Derivatively On Behalf Of
 TILRAY, INC.,
                  Plaintiffs,

                 v.

 BRENDAN KENNEDY, MICHAEL
 AUERBACH, REBEKAH DOPP, MARYSCOTT
 GREENWOOD, CHRISTINE ST. CLARE, AND
 MARK CASTANEDA,

                         Defendants,

 TILRAY, INC.,

                        Nominal Defendant.


        SUGGESTION OF DEATH UPON THE RECORD UNDER RULE 25(a)(1)

        Counsel for Plaintiff Melvyn Klein suggests upon the record, pursuant to Rule 25(a)(1) of

the Federal Rules of Civil Procedure, the death of Plaintiff Melvyn Klein during the pendency of

this action.

Dated: September 2, 2021

                                                    GAINEY McKENNA & EGLESTON


                                             By:    /s/ Thomas J. McKenna
                                                    Thomas J. McKenna
                                                    Gregory M. Egleston
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                                                    Attorneys for Plaintiffs
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                                CERTIFICATE OF SERVICE

       I hereby certify that, on September 2, 2021, I caused a true and correct copy of the

foregoing SUGGESTION OF DEATH UPON THE RECORD UNDER RULE 25(a)(1) to be

served on counsel of record by electronically filing it with the Clerk of the Court using the

CM/ECF system, which will send notification of such filing to the registered participants.



                                                    /s/ Thomas J. McKenna
                                                    Thomas J. McKenna
